 Case 6:04-cr-00128-GAP-G_K Document 536 Filed 09/08/06 Page 1 of 1 PageID 1804
                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION
UNITED STATES OF AMERICA

-vs-                                                                       Case No. 6:04-cr-128-Orl-31JGG

RACHEL LYNN OPSAHL (#12)
_________________________________________

           JUDGMENT ON REVOCATION OF SUPERVISED RELEASE

       This matter came before the Court on September 8, 2006 for consideration of a Report and

Recommendation rendered by Magistrate Judge James G. Glazebrook (Doc. No. 529), after a Final

Probation Revocation Hearing on a Petition for Revocation filed by the Probation Officer on June 1, 2006.

The Defendant was represented at the hearing by Donald West, Federal Public Defender’s Office.

       Having heard from the parties, it is

       ORDERED AND ADJUDGED that Defendant’s supervised release is hereby revoked and the

defendant is continued on her previous term of supervised release with the following added conditions:

                   ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

       The defendant shall also comply with the following additional conditions of supervised release:

               The defendant shall participate in the Home Detention program for a period of 60 Days.
               During this time, the defendant will remain at the defendant’s place of residence except for
               employment and other activities approved in advance by the Probation Office. The
               defendant will be subject to the standard conditions of Home Detention adopted for use in
               the Middle District of Florida, which may include the requirement to wear an electronic
               monitoring device and to follow electronic monitoring procedures specified by the Probation
               Office. Further, the defendant shall be required to contribute to the costs of these services
               not to exceed an amount determined reasonable by the Probation Office based on the
               defendant’s ability to pay.



       DATED AND ORDERED on September 8, 2006 in Orlando, Florida..



Copies to:
Bureau of Prisons
Attorney for Defendant
U.S. Attorney’s Office
U.S. Probation
U.S. Marshal
Defendant
